Case 23-40709   Doc 70-26 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                   Z - Affidavit of Peter L. Blaustein Page 1 of 3




                            Exhibit Z
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                         AFFIDAVIT OF PETER L. BLAUSTEIN

         I, Peter L. Blaustein, attest and state the following of my own personal

   knowledge:

         1. F. Jan Blaustein a/k/a Jan Blaustein Scholes is my mother and prefers to be

            addressed as Jan (hereinafter referred to as "Jan").

         2. Jan is legally considered an incapacitated person.

         3. Since September 11, 2014, I have been authorized as the "attorney-in-fact" or

            "agent" for Jan via a Power of Attorney. Therefore, I was granted all powers as

            her agent and/or her attorney-in-fact.

         4. On June 3, 2019, I was appointed as Jan's conservator and court-appointed

            guardian upon signing the Waiver of Notice and Consent to Conservatorship.

         5. Jan and I were approached by Denise Edwards and Loloynon Akouete who

            offered to investigate and attempt to reunite Jan with unclaimed property in

            California. The unclaimed property was a checking account owned by

            Westborough SPE LLC.

         6. I consented to the assistance and gave permission for Jan to sign a Claim for

            Abandoned Property.

         7. I did not give permission or consent for Jan to sign the Bill of Sale dated

            November 21, 2022, produced by Loloynon Akouete and/or Denise Edwards. I

            did not approve of Jan executing said document.

         8. Lolonyon Akouete and Denise Edwards were aware Jan lacked capacity and

            that I was her legal guardian, and they did not involve me in the Bill of Sale

            contract process or seek my consent for Jan to sign it.
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            9. I do not believe the Bill of Sale contract terms are reasonable.

            10. I do not believe Jan is or ever was the legal or rightful owner of Westborough

                SPE, LLC and/or the locus.

            11.1 have been in contact with Dyann Blaine (a previous employee of Babcock &

                Brown). Dyann Blaine does not think Jan has any legal interest in Westborough

                SPE, LLC and/or the locus.

            12.1 have instructed Jan to disengage from and cease contact with Lolonyon

                Akouete and Denise Edwards.



    Signed under the pains and penalties of perjury this
                                                              ti
                                                                   day of       AU.)
    2023.


                                                   PeterL.Blaustein

    County of SaA 44A 20
                                      STATEOFCALIFORNIA                            Date: 513/1,32
             On this day, before me, the undersigned notary public, personally appeared Peter L.
    Blaustein, proved to me on the basis of satisfactory evidence such as •            (.4 a.   .(c4)
    to be the person whose name is signed on the preceding or attached document and, who subscribed
    and swore to or affirmed before me that the contents of the document are truthful and accurate to
    the best of his knowledge and belief

                                   Notary Public Signature:
                                   Notary Public Name:   1,qrt                deb V
                                   My Commission Expires:    /2 • 12. 2 p2. c"


                                                                                        (Seal)

                                                                             DINA N. KOLESNIK011
                                                                             COMM. *2386495
                                                                            Notary Public • California
                                                                               San Mateo County
                                                                                                        11,
                                                                                                        -4
                                                                            Comm. Ex •ires Dec. 12, 2025



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